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  MAZZOLA LINDSTROM, LLP
  1350 Avenue of the Americas, 2nd Floor
  New York, New York 10019
  (c) 646.250.6666
  jean-claude@mazzolalindstrom.com

  IN THE UNITED STATES DISTRICT COURT
  FOR THE SOUTHERN DISTRICT OF FLORIDA
  -----------------------------------------------------------------x
  JIANGMEN BENLIDA PRINTED                                             CM/ECF
  CIRCUIT CO., LTD., and ROK PRINTED
  CIRCUIT CO., LTD.,                                                   Civil Action No.: 21-60125-CIV-
                                                                       SCOLA/SNOW
                               Plaintiffs,
                                                                       Third Amended Complaint
               -against-                                               (Adding plaintiff ROK Printed Circuit
                                                                       Co., Ltd.)
  CIRCUITRONIX LLC,
                                                                       Jury Trial Demanded
                                Defendant.
  -----------------------------------------------------------------x

  To:     Circuitronix LLC
          3131 SW 42nd Street, Fort Lauderdale, Florida 33312
          Agent for Service of Process: Torres Law, P.A., 888 Southeast 3rd Ave, Fort Lauderdale,
          Florida 33316, Attn: Osvaldo Torres


          Plaintiffs Jiangmen Benlida Printed Circuit Co., Ltd. and ROK Printed Circuit Co., Ltd.,

  through the undersigned attorneys, allege as follows for their complaint against defendant

  Circuitronix LLC:

                                                       Parties
          1.        At all material times, plaintiff Jiangmen Benlida Printed Circuit Co., Ltd. was and

  is a citizen of the People’s Republic of China, where it was formed as a limited liability

  company, and maintains its principal place of business at No. 76 Long, High-Tech Industrial

  Park, Jiangmen, Guangdong, People’s Republic of China, and is engaged in the manufacture and

  sale of computer circuit boards. It maintains no office in the State of Florida.



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         2.      As of the date of the filing of the complaint herein, plaintiff Jiangmen Benlida

  Printed Circuit Co., Ltd.’s members are Huang Xiangjiang, Huang Hanchao, Zhang Qing, Liu

  Yusheng, and Guangdong United Yuda Investment Partnership (Limited Partnership).

              a. Member Huang Xiangjiang is a citizen and resident of the People’s Republic of

                 China, and maintains his principal place of business at No. 76 Long, High-Tech

                 Industrial Park, Jiangmen, Guangdong, People’s Republic of China. He maintains

                 no residence in the State of Florida.

              b. Member Huang Hanchao is a citizen and resident of the People’s Republic of

                 China, and maintains his principal place of business at No. 76 Long, High-Tech

                 Industrial Park, Jiangmen, Guangdong, People’s Republic of China. He maintains

                 no residence in the State of Florida.

              c. Member Zhang Qing is a citizen and resident of the People’s Republic of China,

                 and maintains her principal place of business at No. 76 Long, High-Tech

                 Industrial Park, Jiangmen, Guangdong, People’s Republic of China. She

                 maintains no residence in the State of Florida.

              d. Member Liu Yusheng is a citizen and resident of the People’s Republic of China,

                 and maintains his principal place of business at No. 76 Long, High-Tech

                 Industrial Park, Jiangmen, Guangdong, People’s Republic of China. He maintains

                 no residence in the State of Florida.

              e. Member Guangdong United Yuda Investment Partnership (Limited Partnership)

                 was and is a citizen of the People’s Republic of China, where it was formed as a

                 limited liability partnership, and maintains its principal place of business at 3rd

                 floor, No.7 Building, 21st Land, DongNan Industrial Park, JiangHai District,



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                 Jiangmen, Guangdong, People's Republic of China. It maintains no place of

                 business in the State of Florida. Its members are citizens and residents of the

                 People’s Republic of China, and maintain no residences nor places of business in

                 Florida. The members of Guangdong Yuda Investment Partnership (Limited

                 Partnership) are Huang Hanchao, Liao Shusheng, Liao Shudong, Li Yingjie, Lei

                 Xiaobing, Xie Yuguang, Huang Youjin, Chen Yonglian, Chen Jian, Xu Min, Yan

                 Maohua, Zhou Weixue, Li Zhizhou, Fang Zhongwen, Yang Shide, Chen Jian, Li

                 Yuecheng, Tan Yongjun, Hao Ming, Zhang Yong, Xu Jun, Huang Sulan, Duan

                 Jijun, Hu Xiangbo, Li Xianchao, Kong Xiangchun, Wei Jun, He Chuan, Huang

                 Genqiang, Lin Qixiang, and Li Shulin, all of whom are domiciliary citizens of the

                 People’s Republic of China, and none of whom have a residence in the State of

                 Florida.

         3.      At all material times, plaintiff ROK Printed Circuit Co., Ltd. was and is a

  company formed in People’s Republic of China, where it was formed as a limited liability

  company. It maintains its principal place of business at 21 Workshop, 8, High-tech Industrial

  Park, Dongnan Industrial Park, Jianghai District, Jiangmen, Guangdong, China, and is engaged

  in the manufacture and sale of computer circuit boards. It maintains no office in the State of

  Florida.

         4.      As of the date of the filing of the original complaint herein and at all times since,

  plaintiff ROK Printed Circuit Co., Ltd.’s members are Huang Xiangjiang and Huang Hanchao.

              a. Member Huang Xiangjiang is a citizen and resident of the People’s Republic of

                 China, and maintains his principal place of business at No. 76 Long, High-Tech




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                 Industrial Park, Jiangmen, Guangdong, People’s Republic of China. He maintains

                 no residence in the State of Florida.

              b. Member Huang Hanchao is a citizen and resident of the People’s Republic of

                 China, and maintains his principal place of business at No. 76 Long, High-Tech

                 Industrial Park, Jiangmen, Guangdong, People’s Republic of China. He maintains

                 no residence in the State of Florida.

         5.      At all material times, defendant Circuitronix was and is a citizen of the State of

  Florida, having been formed in Florida, having its principal office located at 3131 SW 42nd

  Street, Fort Lauderdale, Florida 33312, and having no members that are citizens, residents or

  domiciliaries of the People’s Republic of China.

         6.      As of the date of the filing of the complaint herein the sole owner / member of

  Circuitronix was and is Rishi Kukreja, a citizen and domiciliary of the State of Florida, with

  neither citizenship nor residency in the People’s Republic of China, as confirmed by counsel for

  Circuitronix, Chauncy D. Cole III, Esq.

         7.      At the material times alleged herein, defendant Circuitronix ordered circuit boards

  from plaintiffs.

         8.      At the material times alleged herein, the goods ordered by defendant Circuitronix

  were delivered to defendant, and accepted without complaint as to the quality of the goods, but

  defendant has failed to pay for such goods, thus owing plaintiffs at the time of the filing of this

  complaint $13,655,335.93.




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                                         Jurisdiction and Venue
             9.    This court possesses jurisdiction over this case pursuant to 28 U.S.C. § 1332(a),

  as there is diversity between citizens of a foreign state (plaintiff Benlida, which was formed in

  the People’s Republic of China, where it maintains its principal place of business, and where all

  of its members are domiciled; and plaintiff ROK was formed in People’s Republic of China, and

  maintains its principal office in the People’s Republic of China, and where all of its members are

  domiciled) and a citizen of the State of Florida (Circuitronix, which was formed in the State of

  Florida, where it maintains its principal place of business, and has no members who are citizens,

  residents or domiciliaries of the People’s Republic of China), and the amount in controversy

  exceeds $75,000.00.

             10.   Venue is proper in this case pursuant to 28 U.S.C. §1391(b), as Circuitronix’s

  principal place of business – according to the website of the Division of Corporations of the State

  of Florida, as of the date of the filing of this complaint – is 3131 SW 42nd Street, Fort

  Lauderdale, Florida 33312, thus within Broward County and within the United States District for

  the Southern District of Florida.

                                               Background
             11.   This lawsuit arises out of Circuitronix’s failure to pay for circuit boards that were

  purchased, but not paid for, in 2018, 2019 and 2020, and thus there is no statute of limitations

  that bars any portion of the claims made herein.

             12.   During the period of time at issue, plaintiffs issued the following invoices, and

  caused the circuit boards that were ordered by Circuitronix to be delivered in accordance with

  the terms of the invoices, but the invoices have not been paid, save for the first, which was paid

  in part:


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         13.    Invoice CCT-BLD-181229001 was issued by plaintiffs to Circuitronix for a total

  of $34,608.09. To date, Circuitronix has paid no portion of the amount owed.

         14.    Invoice CCT-BLD-181229002 was issued by plaintiffs to Circuitronix for a total

  of $86,125.26. To date, Circuitronix has paid no portion of the amount owed.

         15.    Invoice CCT-BLD-181231001 was issued by plaintiffs to Circuitronix for a total

  of $48,335.32. To date, Circuitronix has paid no portion of the amount owed.

         16.    Invoice CCT-BLD-181231002 was issued by plaintiffs to Circuitronix for a total

  of $75,238.89. To date, Circuitronix has paid no portion of the amount owed.

         17.    Invoice CCT-BLD-181231003 was issued by plaintiffs to Circuitronix for a total

  of $118,543.84. To date, Circuitronix has paid no portion of the amount owed.

         18.    Invoice CCT-BLD-181231004 was issued by plaintiffs to Circuitronix for a total

  of $56,406.52. To date, Circuitronix has paid no portion of the amount owed.

         19.    Invoice CCT-BLD-190104001 was issued by plaintiffs to Circuitronix for a total

  of $89,750.65. To date, Circuitronix has paid no portion of the amount owed.

         20.    Invoice CCT-BLD-190104002 was issued by plaintiffs to Circuitronix for a total

  of $112,847.60. To date, Circuitronix has paid no portion of the amount owed.

         21.    Invoice CCT-BLD-19010401 was issued by plaintiffs to Circuitronix for a total of

  $11,978.29. To date, Circuitronix has paid no portion of the amount owed.

         22.    Invoice CCT-BLD-190108001 was issued by plaintiffs to Circuitronix for a total

  of $78,157.64. To date, Circuitronix has paid no portion of the amount owed.




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         23.    Invoice CCT-BLD-190111001 was issued by plaintiffs to Circuitronix for a total

  of $58,979.40. To date, Circuitronix has paid no portion of the amount owed.

         24.    Invoice CCT-BLD-190111002 was issued by plaintiffs to Circuitronix for a total

  of $86,227.54. To date, Circuitronix has paid no portion of the amount owed.

         25.    Invoice CCT-BLD-190111003 was issued by plaintiffs to Circuitronix for a total

  of $48,634.29. To date, Circuitronix has paid no portion of the amount owed.

         26.    Invoice CCT-BLD-19011101 was issued by plaintiffs to Circuitronix for a total of

  $20,082.92. To date, Circuitronix has paid no portion of the amount owed.

         27.    Invoice CCT-BLD-190115001 was issued by plaintiffs to Circuitronix for a total

  of $45,553.39. To date, Circuitronix has paid no portion of the amount owed.

         28.    Invoice CCT-BLD-190118001 was issued by plaintiffs to Circuitronix for a total

  of $91,067.44. To date, Circuitronix has paid no portion of the amount owed.

         29.    Invoice CCT-BLD-190118002 was issued by plaintiffs to Circuitronix for a total

  of $83,098.02. To date, Circuitronix has paid no portion of the amount owed.

         30.    Invoice CCT-BLD-19011801 was issued by plaintiffs to Circuitronix for a total of

  $3,334.95. To date, Circuitronix has paid no portion of the amount owed.

         31.    Invoice CCT-BLD-19012101 was issued by plaintiffs to Circuitronix for a total of

  $662.86. To date, Circuitronix has paid no portion of the amount owed.

         32.    Invoice CCT-BLD-190122001 was issued by plaintiffs to Circuitronix for a total

  of $59,236.41. To date, Circuitronix has paid no portion of the amount owed.




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         33.     Invoice CCT-BLD-19012401 was issued by plaintiffs to Circuitronix for a total of

  $2,953.74. To date, Circuitronix has paid no portion of the amount owed.

         34.     Invoice CCT-BLD-190125001 was issued by plaintiffs to Circuitronix for a total

  of $86,445.00. To date, Circuitronix has paid no portion of the amount owed.

         35.     Invoice CCT-BLD-190125002 was issued by plaintiffs to Circuitronix for a total

  of $58,150.80. To date, Circuitronix has paid no portion of the amount owed.

         36.     Invoice CCT-BLD-190125003 was issued by plaintiffs to Circuitronix for a total

  of $71,207.72. To date, Circuitronix has paid no portion of the amount owed.

         37.     Invoice CCT-BLD-190129001 was issued by plaintiffs to Circuitronix for a total

  of $75,033.58. To date, Circuitronix has paid no portion of the amount owed.

         38.     Invoice CCT-BLD-190129002 was issued by plaintiffs to Circuitronix for a total

  of $7,451.60. To date, Circuitronix has paid no portion of the amount owed.

         39.     Invoice CCT-BLD-1901cancellation cost was issued by plaintiffs to Circuitronix

  for a total of $15,296.09. To date, Circuitronix has paid no portion of the amount owed.

         40.     Invoice CCT-BLD-1901NRE was issued by plaintiffs to Circuitronix for a total of

  $300.00. To date, Circuitronix has paid no portion of the amount owed.

         41.     Invoice CCT-BLD-19020101 was issued by plaintiffs to Circuitronix for a total of

  $50,496.84. To date, Circuitronix has paid no portion of the amount owed.

         42.     Invoice CCT-BLD-19020102 was issued by plaintiffs to Circuitronix for a total of

  $4,718.58. To date, Circuitronix has paid no portion of the amount owed.




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         43.    Invoice CCT-BLD-190215001 was issued by plaintiffs to Circuitronix for a total

  of $81,126.75. To date, Circuitronix has paid no portion of the amount owed.

         44.    Invoice CCT-BLD-190215002 was issued by plaintiffs to Circuitronix for a total

  of $35,987.40. To date, Circuitronix has paid no portion of the amount owed.

         45.    Invoice CCT-BLD-190215003 was issued by plaintiffs to Circuitronix for a total

  of $59,159.80. To date, Circuitronix has paid no portion of the amount owed.

         46.    Invoice CCT-BLD-19021801 was issued by plaintiffs to Circuitronix for a total of

  $668.50. To date, Circuitronix has paid no portion of the amount owed.

         47.    Invoice CCT-BLD-190219001 was issued by plaintiffs to Circuitronix for a total

  of $55,199.43. To date, Circuitronix has paid no portion of the amount owed.

         48.    Invoice CCT-BLD-190222001 was issued by plaintiffs to Circuitronix for a total

  of $25,120.06. To date, Circuitronix has paid no portion of the amount owed.

         49.    Invoice CCT-BLD-190222002 was issued by plaintiffs to Circuitronix for a total

  of $82,842.00. To date, Circuitronix has paid no portion of the amount owed.

         50.    Invoice CCT-BLD-190222003 was issued by plaintiffs to Circuitronix for a total

  of $76,526.40. To date, Circuitronix has paid no portion of the amount owed.

         51.    Invoice CCT-BLD-190222004 was issued by plaintiffs to Circuitronix for a total

  of $47,933.40. To date, Circuitronix has paid no portion of the amount owed.

         52.    Invoice CCT-BLD-19022201 was issued by plaintiffs to Circuitronix for a total of

  $1,288.56. To date, Circuitronix has paid no portion of the amount owed.




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          53.    Invoice CCT-BLD-190226001 was issued by plaintiffs to Circuitronix for a total

   of $42,788.15. To date, Circuitronix has paid no portion of the amount owed.

          54.    Invoice CCT-BLD-190226002 was issued by plaintiffs to Circuitronix for a total

   of $47,470.44. To date, Circuitronix has paid no portion of the amount owed.

          55.    Invoice CCT-BLD-190301001 was issued by plaintiffs to Circuitronix for a total

   of $81,536.35. To date, Circuitronix has paid no portion of the amount owed.

          56.    Invoice CCT-BLD-190301002 was issued by plaintiffs to Circuitronix for a total

   of $54,353.60. To date, Circuitronix has paid no portion of the amount owed.

          57.    Invoice CCT-BLD-190301003 was issued by plaintiffs to Circuitronix for a total

   of $43,756.95. To date, Circuitronix has paid no portion of the amount owed.

          58.    Invoice CCT-BLD-19030101 was issued by plaintiffs to Circuitronix for a total of

   $369.32. To date, Circuitronix has paid no portion of the amount owed.

          59.    Invoice CCT-BLD-190304defective was issued by plaintiffs to Circuitronix for a

   total of $303.74. To date, Circuitronix has paid no portion of the amount owed.

          60.    Invoice CCT-BLD-190305001 was issued by plaintiffs to Circuitronix for a total

   of $39,243.18. To date, Circuitronix has paid no portion of the amount owed.

          61.    Invoice CCT-BLD-190305002 was issued by plaintiffs to Circuitronix for a total

   of $69,327.27. To date, Circuitronix has paid no portion of the amount owed.

          62.    Invoice CCT-BLD-190308001 was issued by plaintiffs to Circuitronix for a total

   of $29,091.10. To date, Circuitronix has paid no portion of the amount owed.




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          63.    Invoice CCT-BLD-190308002 was issued by plaintiffs to Circuitronix for a total

   of $76,939.35. To date, Circuitronix has paid no portion of the amount owed.

          64.    Invoice CCT-BLD-190308003 was issued by plaintiffs to Circuitronix for a total

   of $20,735.88. To date, Circuitronix has paid no portion of the amount owed.

          65.    Invoice CCT-BLD-190308004 was issued by plaintiffs to Circuitronix for a total

   of $14,624.52. To date, Circuitronix has paid no portion of the amount owed.

          66.    Invoice CCT-BLD-19030801 was issued by plaintiffs to Circuitronix for a total of

   $470.95. To date, Circuitronix has paid no portion of the amount owed.

          67.    Invoice CCT-BLD-190312001 was issued by plaintiffs to Circuitronix for a total

   of $31,622.82. To date, Circuitronix has paid no portion of the amount owed.

          68.    Invoice CCT-BLD-190312002 was issued by plaintiffs to Circuitronix for a total

   of $58,677.86. To date, Circuitronix has paid no portion of the amount owed.

          69.    Invoice CCT-BLD-19031201 was issued by plaintiffs to Circuitronix for a total of

   $2,503.58. To date, Circuitronix has paid no portion of the amount owed.

          70.    Invoice CCT-BLD-190315001 was issued by plaintiffs to Circuitronix for a total

   of $78,512.13. To date, Circuitronix has paid no portion of the amount owed.

          71.    Invoice CCT-BLD-190315002 was issued by plaintiffs to Circuitronix for a total

   of $30,374.72. To date, Circuitronix has paid no portion of the amount owed.

          72.    Invoice CCT-BLD-190315003 was issued by plaintiffs to Circuitronix for a total

   of $5,002.56. To date, Circuitronix has paid no portion of the amount owed.




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          73.    Invoice CCT-BLD-190319001 was issued by plaintiffs to Circuitronix for a total

   of $75,164.61. To date, Circuitronix has paid no portion of the amount owed.

          74.    Invoice CCT-BLD-190319002 was issued by plaintiffs to Circuitronix for a total

   of $34,164.58. To date, Circuitronix has paid no portion of the amount owed.

          75.    Invoice CCT-BLD-19031901 was issued by plaintiffs to Circuitronix for a total of

   $1,741.15. To date, Circuitronix has paid no portion of the amount owed.

          76.    Invoice CCT-BLD-190322001 was issued by plaintiffs to Circuitronix for a total

   of $54,623.53. To date, Circuitronix has paid no portion of the amount owed.

          77.    Invoice CCT-BLD-190322002 was issued by plaintiffs to Circuitronix for a total

   of $19,770.08. To date, Circuitronix has paid no portion of the amount owed.

          78.    Invoice CCT-BLD-190322003 was issued by plaintiffs to Circuitronix for a total

   of $27,408.56. To date, Circuitronix has paid no portion of the amount owed.

          79.    Invoice CCT-BLD-19032501 was issued by plaintiffs to Circuitronix for a total of

   $535.68. To date, Circuitronix has paid no portion of the amount owed.

          80.    Invoice CCT-BLD-190326001 was issued by plaintiffs to Circuitronix for a total

   of $57,693.66. To date, Circuitronix has paid no portion of the amount owed.

          81.    Invoice CCT-BLD-190326002 was issued by plaintiffs to Circuitronix for a total

   of $77,418.72. To date, Circuitronix has paid no portion of the amount owed.

          82.    Invoice CCT-BLD-190326003 was issued by plaintiffs to Circuitronix for a total

   of $5,371.68. To date, Circuitronix has paid no portion of the amount owed.




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          83.    Invoice CCT-BLD-190329001 was issued by plaintiffs to Circuitronix for a total

   of $47,889.32. To date, Circuitronix has paid no portion of the amount owed.

          84.    Invoice CCT-BLD-190329002 was issued by plaintiffs to Circuitronix for a total

   of $7,783.20. To date, Circuitronix has paid no portion of the amount owed.

          85.    Invoice CCT-BLD-1903NRE was issued by plaintiffs to Circuitronix for a total of

   $2,500.00. To date, Circuitronix has paid no portion of the amount owed.

          86.    Invoice CCT-BLD-19040201 was issued by plaintiffs to Circuitronix for a total of

   $61.00. To date, Circuitronix has paid no portion of the amount owed.

          87.    Invoice CCT-BLD-190403003 was issued by plaintiffs to Circuitronix for a total

   of $5,943.06. To date, Circuitronix has paid no portion of the amount owed.

          88.    Invoice CCT-BLD-190403002 was issued by plaintiffs to Circuitronix for a total

   of $68,441.59. To date, Circuitronix has paid no portion of the amount owed.

          89.    Invoice CCT-BLD-190403004 was issued by plaintiffs to Circuitronix for a total

   of $4,851.84. To date, Circuitronix has paid no portion of the amount owed.

          90.    Invoice CCT-BLD-190403001 was issued by plaintiffs to Circuitronix for a total

   of $78,471.52. To date, Circuitronix has paid no portion of the amount owed.

          91.    Invoice CCT-BLD-19040801 was issued by plaintiffs to Circuitronix for a total of

   $3,715.60. To date, Circuitronix has paid no portion of the amount owed.

          92.    Invoice CCT-BLD-190409001 was issued by plaintiffs to Circuitronix for a total

   of $47,832.23. To date, Circuitronix has paid no portion of the amount owed.




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          93.    Invoice CCT-BLD-190409002 was issued by plaintiffs to Circuitronix for a total

   of $74,391.03. To date, Circuitronix has paid no portion of the amount owed.

          94.    Invoice CCT-BLD-190412002 was issued by plaintiffs to Circuitronix for a total

   of $8,535.24. To date, Circuitronix has paid no portion of the amount owed.

          95.    Invoice CCT-BLD-190412001 was issued by plaintiffs to Circuitronix for a total

   of $39,500.17. To date, Circuitronix has paid no portion of the amount owed.

          96.    Invoice CCT-BLD-190416001 was issued by plaintiffs to Circuitronix for a total

   of $41,775.56. To date, Circuitronix has paid no portion of the amount owed.

          97.    Invoice CCT-BLD-19041701 was issued by plaintiffs to Circuitronix for a total of

   $134.73. To date, Circuitronix has paid no portion of the amount owed.

          98.    Invoice CCT-BLD-190419003 was issued by plaintiffs to Circuitronix for a total

   of $30,243.60. To date, Circuitronix has paid no portion of the amount owed.

          99.    Invoice CCT-BLD-190419004 was issued by plaintiffs to Circuitronix for a total

   of $29,942.65. To date, Circuitronix has paid no portion of the amount owed.

          100.   Invoice CCT-BLD-190419001 was issued by plaintiffs to Circuitronix for a total

   of $27,185.91. To date, Circuitronix has paid no portion of the amount owed.

          101.   Invoice CCT-BLD-190419002 was issued by plaintiffs to Circuitronix for a total

   of $65,980.00. To date, Circuitronix has paid no portion of the amount owed.

          102.   Invoice CCT-BLD-19042201 was issued by plaintiffs to Circuitronix for a total of

   $6,809.20. To date, Circuitronix has paid no portion of the amount owed.




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          103.   Invoice CCT-BLD-190423003 was issued by plaintiffs to Circuitronix for a total

   of $64,098.14. To date, Circuitronix has paid no portion of the amount owed.

          104.   Invoice CCT-BLD-190423001 was issued by plaintiffs to Circuitronix for a total

   of $57,714.54. To date, Circuitronix has paid no portion of the amount owed.

          105.   Invoice CCT-BLD-190423002 was issued by plaintiffs to Circuitronix for a total

   of $73,766.90. To date, Circuitronix has paid no portion of the amount owed.

          106.   Invoice CCT-BLD-190426003 was issued by plaintiffs to Circuitronix for a total

   of $22,242.16. To date, Circuitronix has paid no portion of the amount owed.

          107.   Invoice CCT-BLD-190426002 was issued by plaintiffs to Circuitronix for a total

   of $27,774.20. To date, Circuitronix has paid no portion of the amount owed.

          108.   Invoice CCT-BLD-190426001 was issued by plaintiffs to Circuitronix for a total

   of $72,967.30. To date, Circuitronix has paid no portion of the amount owed.

          109.   Invoice CCT-BLD-19042901 was issued by plaintiffs to Circuitronix for a total of

   $22,333.20. To date, Circuitronix has paid no portion of the amount owed.

          110.   Invoice CCT-BLD-190429002 was issued by plaintiffs to Circuitronix for a total

   of $6,905.20. To date, Circuitronix has paid no portion of the amount owed.

          111.   Invoice CCT-BLD-190429001 was issued by plaintiffs to Circuitronix for a total

   of $80,477.13. To date, Circuitronix has paid no portion of the amount owed.

          112.   Invoice CCT-BLD-19050601 was issued by plaintiffs to Circuitronix for a total of

   $3,162.79. To date, Circuitronix has paid no portion of the amount owed.




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          113.   Invoice CCT-BLD-190507001 was issued by plaintiffs to Circuitronix for a total

   of $32,339.27. To date, Circuitronix has paid no portion of the amount owed.

          114.   Invoice CCT-BLD-190507002 was issued by plaintiffs to Circuitronix for a total

   of $6,931.20. To date, Circuitronix has paid no portion of the amount owed.

          115.   Invoice CCT-BLD-190510001 was issued by plaintiffs to Circuitronix for a total

   of $36,559.02. To date, Circuitronix has paid no portion of the amount owed.

          116.   Invoice CCT-BLD-190510002 was issued by plaintiffs to Circuitronix for a total

   of $50,015.61. To date, Circuitronix has paid no portion of the amount owed.

          117.   Invoice CCT-BLD-190510003 was issued by plaintiffs to Circuitronix for a total

   of $16,084.64. To date, Circuitronix has paid no portion of the amount owed.

          118.   Invoice CCT-BLD-19051301 was issued by plaintiffs to Circuitronix for a total of

   $2,561.47. To date, Circuitronix has paid no portion of the amount owed.

          119.   Invoice CCT-BLD-190514001 was issued by plaintiffs to Circuitronix for a total

   of $57,133.31. To date, Circuitronix has paid no portion of the amount owed.

          120.   Invoice CCT-BLD-190514002 was issued by plaintiffs to Circuitronix for a total

   of $54,743.50. To date, Circuitronix has paid no portion of the amount owed.

          121.   Invoice CCT-BLD-190514003 was issued by plaintiffs to Circuitronix for a total

   of $52,232.43. To date, Circuitronix has paid no portion of the amount owed.

          122.   Invoice CCT-BLD-190517001 was issued by plaintiffs to Circuitronix for a total

   of $28,836.48. To date, Circuitronix has paid no portion of the amount owed.




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          123.   Invoice CCT-BLD-190517002 was issued by plaintiffs to Circuitronix for a total

   of $5,693.92. To date, Circuitronix has paid no portion of the amount owed.

          124.   Invoice CCT-BLD-190517003 was issued by plaintiffs to Circuitronix for a total

   of $11,725.43. To date, Circuitronix has paid no portion of the amount owed.

          125.   Invoice CCT-BLD-190521001 was issued by plaintiffs to Circuitronix for a total

   of $44,392.36. To date, Circuitronix has paid no portion of the amount owed.

          126.   Invoice CCT-BLD-190521002 was issued by plaintiffs to Circuitronix for a total

   of $9,934.76. To date, Circuitronix has paid no portion of the amount owed.

          127.   Invoice CCT-BLD-19052101 was issued by plaintiffs to Circuitronix for a total of

   $26,473.65. To date, Circuitronix has paid no portion of the amount owed.

          128.   Invoice CCT-BLD-190524001 was issued by plaintiffs to Circuitronix for a total

   of $62,248.84. To date, Circuitronix has paid no portion of the amount owed.

          129.   Invoice CCT-BLD-190524002 was issued by plaintiffs to Circuitronix for a total

   of $27,808.00. To date, Circuitronix has paid no portion of the amount owed.

          130.   Invoice CCT-BLD-190524003 was issued by plaintiffs to Circuitronix for a total

   of $27,204.88. To date, Circuitronix has paid no portion of the amount owed.

          131.   Invoice CCT-BLD-190524004 was issued by plaintiffs to Circuitronix for a total

   of $74,114.54. To date, Circuitronix has paid no portion of the amount owed.

          132.   Invoice CCT-BLD-190528001 was issued by plaintiffs to Circuitronix for a total

   of $63,547.10. To date, Circuitronix has paid no portion of the amount owed.




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          133.   Invoice CCT-BLD-19052801 was issued by plaintiffs to Circuitronix for a total of

   $21,060.02. To date, Circuitronix has paid no portion of the amount owed.

          134.   Invoice CCT-BLD-19052802 was issued by plaintiffs to Circuitronix for a total of

   $1,120.00. To date, Circuitronix has paid no portion of the amount owed.

          135.   Invoice CCT-BLD-190531001 was issued by plaintiffs to Circuitronix for a total

   of $36,294.85. To date, Circuitronix has paid no portion of the amount owed.

          136.   Invoice CCT-BLD-190531002 was issued by plaintiffs to Circuitronix for a total

   of $35,780.80. To date, Circuitronix has paid no portion of the amount owed.

          137.   Invoice CCT-BLD-190531003 was issued by plaintiffs to Circuitronix for a total

   of $52,662.34. To date, Circuitronix has paid no portion of the amount owed.

          138.   Invoice CCT-BLD-190604001 was issued by plaintiffs to Circuitronix for a total

   of $31,693.14. To date, Circuitronix has paid no portion of the amount owed.

          139.   Invoice CCT-BLD-19060501 was issued by plaintiffs to Circuitronix for a total of

   $21,854.08. To date, Circuitronix has paid no portion of the amount owed.

          140.   Invoice CCT-BLD-190606001 was issued by plaintiffs to Circuitronix for a total

   of $21,482.69. To date, Circuitronix has paid no portion of the amount owed.

          141.   Invoice CCT-BLD-190606002 was issued by plaintiffs to Circuitronix for a total

   of $8,914.20. To date, Circuitronix has paid no portion of the amount owed.

          142.   Invoice CCT-BLD-190611001 was issued by plaintiffs to Circuitronix for a total

   of $54,795.57. To date, Circuitronix has paid no portion of the amount owed.




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          143.   Invoice CCT-BLD-19061202 was issued by plaintiffs to Circuitronix for a total of

   $1,262.46. To date, Circuitronix has paid no portion of the amount owed.

          144.   Invoice CCT-BLD-19061201 was issued by plaintiffs to Circuitronix for a total of

   $15,300.22. To date, Circuitronix has paid no portion of the amount owed.

          145.   Invoice CCT-BLD-190614001 was issued by plaintiffs to Circuitronix for a total

   of $73,181.85. To date, Circuitronix has paid no portion of the amount owed.

          146.   Invoice CCT-BLD-190614004 was issued by plaintiffs to Circuitronix for a total

   of $6,484.27. To date, Circuitronix has paid no portion of the amount owed.

          147.   Invoice CCT-BLD-190614002 was issued by plaintiffs to Circuitronix for a total

   of $17,608.00. To date, Circuitronix has paid no portion of the amount owed.

          148.   Invoice CCT-BLD-190614003 was issued by plaintiffs to Circuitronix for a total

   of $46,367.86. To date, Circuitronix has paid no portion of the amount owed.

          149.   Invoice CCT-BLD-190618001 was issued by plaintiffs to Circuitronix for a total

   of $23,488.35. To date, Circuitronix has paid no portion of the amount owed.

          150.   Invoice CCT-BLD-190618002 was issued by plaintiffs to Circuitronix for a total

   of $69,665.36. To date, Circuitronix has paid no portion of the amount owed.

          151.   Invoice CCT-BLD-190621002 was issued by plaintiffs to Circuitronix for a total

   of $23,842.95. To date, Circuitronix has paid no portion of the amount owed.

          152.   Invoice CCT-BLD-190621001 was issued by plaintiffs to Circuitronix for a total

   of $48,715.37. To date, Circuitronix has paid no portion of the amount owed.




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          153.   Invoice CCT-BLD-19062102 was issued by plaintiffs to Circuitronix for a total of

   $10,929.78. To date, Circuitronix has paid no portion of the amount owed.

          154.   Invoice CCT-BLD-19062101 was issued by plaintiffs to Circuitronix for a total of

   $29,292.75. To date, Circuitronix has paid no portion of the amount owed.

          155.   Invoice CCT-BLD-190625001 was issued by plaintiffs to Circuitronix for a total

   of $66,198.51. To date, Circuitronix has paid no portion of the amount owed.

          156.   Invoice CCT-BLD-190625002 was issued by plaintiffs to Circuitronix for a total

   of $17,608.00. To date, Circuitronix has paid no portion of the amount owed.

          157.   Invoice CCT-BLD-19062501 was issued by plaintiffs to Circuitronix for a total of

   $46,612.89. To date, Circuitronix has paid no portion of the amount owed.

          158.   Invoice CCT-BLD-19062502 was issued by plaintiffs to Circuitronix for a total of

   $20,853.38. To date, Circuitronix has paid no portion of the amount owed.

          159.   Invoice CCT-BLD-190628003 was issued by plaintiffs to Circuitronix for a total

   of $35,825.04. To date, Circuitronix has paid no portion of the amount owed.

          160.   Invoice CCT-BLD-190628004 was issued by plaintiffs to Circuitronix for a total

   of $538.20. To date, Circuitronix has paid no portion of the amount owed.

          161.   Invoice CCT-BLD-190628005 was issued by plaintiffs to Circuitronix for a total

   of $29,806.83. To date, Circuitronix has paid no portion of the amount owed.

          162.   Invoice CCT-BLD-190628002 was issued by plaintiffs to Circuitronix for a total

   of $46,903.33. To date, Circuitronix has paid no portion of the amount owed.




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          163.   Invoice CCT-BLD-190628001 was issued by plaintiffs to Circuitronix for a total

   of $54,193.30. To date, Circuitronix has paid no portion of the amount owed.

          164.   Invoice CCT-BLD-190702001 was issued by plaintiffs to Circuitronix for a total

   of $32,885.31. To date, Circuitronix has paid no portion of the amount owed.

          165.   Invoice CCT-BLD-190702002 was issued by plaintiffs to Circuitronix for a total

   of $64,657.59. To date, Circuitronix has paid no portion of the amount owed.

          166.   Invoice CCT-BLD-190705001 was issued by plaintiffs to Circuitronix for a total

   of $26,792.99. To date, Circuitronix has paid no portion of the amount owed.

          167.   Invoice CCT-BLD-190705002 was issued by plaintiffs to Circuitronix for a total

   of $32,813.85. To date, Circuitronix has paid no portion of the amount owed.

          168.   Invoice CCT-BLD-190705003 was issued by plaintiffs to Circuitronix for a total

   of $39,175.23. To date, Circuitronix has paid no portion of the amount owed.

          169.   Invoice CCT-BLD-19070501 was issued by plaintiffs to Circuitronix for a total of

   $7,478.58. To date, Circuitronix has paid no portion of the amount owed.

          170.   Invoice CCT-BLD-19070502 was issued by plaintiffs to Circuitronix for a total of

   $1,088.18. To date, Circuitronix has paid no portion of the amount owed.

          171.   Invoice CCT-BLD-190709001 was issued by plaintiffs to Circuitronix for a total

   of $11,973.11. To date, Circuitronix has paid no portion of the amount owed.

          172.   Invoice CCT-BLD-190709002 was issued by plaintiffs to Circuitronix for a total

   of $33,597.97. To date, Circuitronix has paid no portion of the amount owed.




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          173.   Invoice CCT-BLD-190712001 was issued by plaintiffs to Circuitronix for a total

   of $42,998.08. To date, Circuitronix has paid no portion of the amount owed.

          174.   Invoice CCT-BLD-190712002 was issued by plaintiffs to Circuitronix for a total

   of $12,291.12. To date, Circuitronix has paid no portion of the amount owed.

          175.   Invoice CCT-BLD-190712003 was issued by plaintiffs to Circuitronix for a total

   of $22,877.48. To date, Circuitronix has paid no portion of the amount owed.

          176.   Invoice CCT-BLD-19071201 was issued by plaintiffs to Circuitronix for a total of

   $6,942.66. To date, Circuitronix has paid no portion of the amount owed.

          177.   Invoice CCT-BLD-19071202 was issued by plaintiffs to Circuitronix for a total of

   $13,657.05. To date, Circuitronix has paid no portion of the amount owed.

          178.   Invoice CCT-BLD-19071801 was issued by plaintiffs to Circuitronix for a total of

   $5,657.85. To date, Circuitronix has paid no portion of the amount owed.

          179.   Invoice CCT-BLD-190719001 was issued by plaintiffs to Circuitronix for a total

   of $43,450.47. To date, Circuitronix has paid no portion of the amount owed.

          180.   Invoice CCT-BLD-190719002 was issued by plaintiffs to Circuitronix for a total

   of $41,060.48. To date, Circuitronix has paid no portion of the amount owed.

          181.   Invoice CCT-BLD-190719003 was issued by plaintiffs to Circuitronix for a total

   of $66,841.81. To date, Circuitronix has paid no portion of the amount owed.

          182.   Invoice CCT-BLD-190719004 was issued by plaintiffs to Circuitronix for a total

   of $60,813.48. To date, Circuitronix has paid no portion of the amount owed.




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          183.   Invoice CCT-BLD-190723001 was issued by plaintiffs to Circuitronix for a total

   of $34,325.02. To date, Circuitronix has paid no portion of the amount owed.

          184.   Invoice CCT-BLD-190723002 was issued by plaintiffs to Circuitronix for a total

   of $25,506.56. To date, Circuitronix has paid no portion of the amount owed.

          185.   Invoice CCT-BLD-19072301 was issued by plaintiffs to Circuitronix for a total of

   $58,612.31. To date, Circuitronix has paid no portion of the amount owed.

          186.   Invoice CCT-BLD-19072302 was issued by plaintiffs to Circuitronix for a total of

   $1,651.22. To date, Circuitronix has paid no portion of the amount owed.

          187.   Invoice CCT-BLD-190726001 was issued by plaintiffs to Circuitronix for a total

   of $19,050.62. To date, Circuitronix has paid no portion of the amount owed.

          188.   Invoice CCT-BLD-190726002 was issued by plaintiffs to Circuitronix for a total

   of $67,953.78. To date, Circuitronix has paid no portion of the amount owed.

          189.   Invoice CCT-BLD-190726003 was issued by plaintiffs to Circuitronix for a total

   of $25,937.08. To date, Circuitronix has paid no portion of the amount owed.

          190.   Invoice CCT-BLD-190730001 was issued by plaintiffs to Circuitronix for a total

   of $33,429.50. To date, Circuitronix has paid no portion of the amount owed.

          191.   Invoice CCT-BLD-190730002 was issued by plaintiffs to Circuitronix for a total

   of $67,206.08. To date, Circuitronix has paid no portion of the amount owed.

          192.   Invoice CCT-BLD-1907NRE was issued by plaintiffs to Circuitronix for a total of

   $150.00. To date, Circuitronix has paid no portion of the amount owed.




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          193.   Invoice CCT-BLD-190802001 was issued by plaintiffs to Circuitronix for a total

   of $19,887.10. To date, Circuitronix has paid no portion of the amount owed.

          194.   Invoice CCT-BLD-190802002 was issued by plaintiffs to Circuitronix for a total

   of $9,291.96. To date, Circuitronix has paid no portion of the amount owed.

          195.   Invoice CCT-BLD-190802003 was issued by plaintiffs to Circuitronix for a total

   of $8,761.20. To date, Circuitronix has paid no portion of the amount owed.

          196.   Invoice CCT-BLD-19080201 was issued by plaintiffs to Circuitronix for a total of

   $2,124.26. To date, Circuitronix has paid no portion of the amount owed.

          197.   Invoice CCT-BLD-19080202 was issued by plaintiffs to Circuitronix for a total of

   $690.25. To date, Circuitronix has paid no portion of the amount owed.

          198.   Invoice CCT-BLD-190806001 was issued by plaintiffs to Circuitronix for a total

   of $17,074.40. To date, Circuitronix has paid no portion of the amount owed.

          199.   Invoice CCT-BLD-190806002 was issued by plaintiffs to Circuitronix for a total

   of $17,225.32. To date, Circuitronix has paid no portion of the amount owed.

          200.   Invoice CCT-BLD-19080601 was issued by plaintiffs to Circuitronix for a total of

   $7,971.63. To date, Circuitronix has paid no portion of the amount owed.

          201.   Invoice CCT-BLD-19080602 was issued by plaintiffs to Circuitronix for a total of

   $8,827.64. To date, Circuitronix has paid no portion of the amount owed.

          202.   Invoice CCT-BLD-190808 was issued by plaintiffs to Circuitronix for a total of

   $1,268.59. To date, Circuitronix has paid no portion of the amount owed.




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          203.   Invoice CCT-BLD-190809001 was issued by plaintiffs to Circuitronix for a total

   of $30,281.15. To date, Circuitronix has paid no portion of the amount owed.

          204.   Invoice CCT-BLD-190809002 was issued by plaintiffs to Circuitronix for a total

   of $14,071.26. To date, Circuitronix has paid no portion of the amount owed.

          205.   Invoice CCT-BLD-190809003 was issued by plaintiffs to Circuitronix for a total

   of $6,883.80. To date, Circuitronix has paid no portion of the amount owed.

          206.   Invoice CCT-BLD-190814001 was issued by plaintiffs to Circuitronix for a total

   of $10,381.03. To date, Circuitronix has paid no portion of the amount owed.

          207.   Invoice CCT-BLD-190814002 was issued by plaintiffs to Circuitronix for a total

   of $21,465.40. To date, Circuitronix has paid no portion of the amount owed.

          208.   Invoice CCT-BLD-19081501 was issued by plaintiffs to Circuitronix for a total of

   $4,776.00. To date, Circuitronix has paid no portion of the amount owed.

          209.   Invoice CCT-BLD-19081502 was issued by plaintiffs to Circuitronix for a total of

   $344.24. To date, Circuitronix has paid no portion of the amount owed.

          210.   Invoice CCT-BLD-190816001 was issued by plaintiffs to Circuitronix for a total

   of $7,258.91. To date, Circuitronix has paid no portion of the amount owed.

          211.   Invoice CCT-BLD-190816002 was issued by plaintiffs to Circuitronix for a total

   of $29,379.88. To date, Circuitronix has paid no portion of the amount owed.

          212.   Invoice CCT-BLD-190816003 was issued by plaintiffs to Circuitronix for a total

   of $1,166.67. To date, Circuitronix has paid no portion of the amount owed.




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          213.   Invoice CCT-BLD-190820001 was issued by plaintiffs to Circuitronix for a total

   of $1,236.17. To date, Circuitronix has paid no portion of the amount owed.

          214.   Invoice CCT-BLD-190820002 was issued by plaintiffs to Circuitronix for a total

   of $32,551.45. To date, Circuitronix has paid no portion of the amount owed.

          215.   Invoice CCT-BLD-19082201 was issued by plaintiffs to Circuitronix for a total of

   $16,727.60. To date, Circuitronix has paid no portion of the amount owed.

          216.   Invoice CCT-BLD-19082202 was issued by plaintiffs to Circuitronix for a total of

   $345.60. To date, Circuitronix has paid no portion of the amount owed.

          217.   Invoice CCT-BLD-190823001 was issued by plaintiffs to Circuitronix for a total

   of $748.09. To date, Circuitronix has paid no portion of the amount owed.

          218.   Invoice CCT-BLD-190823002 was issued by plaintiffs to Circuitronix for a total

   of $7,313.84. To date, Circuitronix has paid no portion of the amount owed.

          219.   Invoice CCT-BLD-190823003 was issued by plaintiffs to Circuitronix for a total

   of $178.80. To date, Circuitronix has paid no portion of the amount owed.

          220.   Invoice CCT-BLD-190827001 was issued by plaintiffs to Circuitronix for a total

   of $6,590.85. To date, Circuitronix has paid no portion of the amount owed.

          221.   Invoice CCT-BLD-190827002 was issued by plaintiffs to Circuitronix for a total

   of $4,092.65. To date, Circuitronix has paid no portion of the amount owed.

          222.   Invoice CCT-BLD-190830001 was issued by plaintiffs to Circuitronix for a total

   of $3,997.68. To date, Circuitronix has paid no portion of the amount owed.




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          223.   Invoice CCT-BLD-190830002 was issued by plaintiffs to Circuitronix for a total

   of $20,555.01. To date, Circuitronix has paid no portion of the amount owed.

          224.   Invoice CCT-BLD-19083001 was issued by plaintiffs to Circuitronix for a total of

   $22,686.30. To date, Circuitronix has paid no portion of the amount owed.

          225.   Invoice CCT-BLD-190903001 was issued by plaintiffs to Circuitronix for a total

   of $9,162.71. To date, Circuitronix has paid no portion of the amount owed.

          226.   Invoice CCT-BLD-190903002 was issued by plaintiffs to Circuitronix for a total

   of $13,790.78. To date, Circuitronix has paid no portion of the amount owed.

          227.   Invoice CCT-BLD-190906001 was issued by plaintiffs to Circuitronix for a total

   of $4,116.02. To date, Circuitronix has paid no portion of the amount owed.

          228.   Invoice CCT-BLD-190906002 was issued by plaintiffs to Circuitronix for a total

   of $31,838.49. To date, Circuitronix has paid no portion of the amount owed.

          229.   Invoice CCT-BLD-190906003 was issued by plaintiffs to Circuitronix for a total

   of $21,366.60. To date, Circuitronix has paid no portion of the amount owed.

          230.   Invoice CCT-BLD-190910001 was issued by plaintiffs to Circuitronix for a total

   of $19,294.92. To date, Circuitronix has paid no portion of the amount owed.

          231.   Invoice CCT-BLD-190910002 was issued by plaintiffs to Circuitronix for a total

   of $16,553.81. To date, Circuitronix has paid no portion of the amount owed.

          232.   Invoice CCT-BLD-190911001 was issued by plaintiffs to Circuitronix for a total

   of $977.45. To date, Circuitronix has paid no portion of the amount owed.




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          233.   Invoice CCT-BLD-190911002 was issued by plaintiffs to Circuitronix for a total

   of $5,211.95. To date, Circuitronix has paid no portion of the amount owed.

          234.   Invoice CCT-BLD-190912A was issued by plaintiffs to Circuitronix for a total of

   $13,646.20. To date, Circuitronix has paid no portion of the amount owed.

          235.   Invoice CCT-BLD-19091701 was issued by plaintiffs to Circuitronix for a total of

   $1,348.50. To date, Circuitronix has paid no portion of the amount owed.

          236.   Invoice CCT-BLD-19091702 was issued by plaintiffs to Circuitronix for a total of

   $4,146.88. To date, Circuitronix has paid no portion of the amount owed.

          237.   Invoice CCT-BLD-190920001 was issued by plaintiffs to Circuitronix for a total

   of $17,694.65. To date, Circuitronix has paid no portion of the amount owed.

          238.   Invoice CCT-BLD-190920003 was issued by plaintiffs to Circuitronix for a total

   of $2,030.63. To date, Circuitronix has paid no portion of the amount owed.

          239.   Invoice CCT-BLD-190924001 was issued by plaintiffs to Circuitronix for a total

   of $3,069.00. To date, Circuitronix has paid no portion of the amount owed.

          240.   Invoice CCT-BLD-190924002 was issued by plaintiffs to Circuitronix for a total

   of $1,315.00. To date, Circuitronix has paid no portion of the amount owed.

          241.   Invoice CCT-BLD-190927001 was issued by plaintiffs to Circuitronix for a total

   of $619.20. To date, Circuitronix has paid no portion of the amount owed.

          242.   Invoice CCT-BLD-190927002 was issued by plaintiffs to Circuitronix for a total

   of $1,809.53. To date, Circuitronix has paid no portion of the amount owed.




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          243.   Invoice CCT-BLD-19092901 was issued by plaintiffs to Circuitronix for a total of

   $1,296.07. To date, Circuitronix has paid no portion of the amount owed.

          244.   Invoice CCT-BLD-19092902 was issued by plaintiffs to Circuitronix for a total of

   $45.30. To date, Circuitronix has paid no portion of the amount owed.

          245.   Invoice CCT-BLD-191008001 was issued by plaintiffs to Circuitronix for a total

   of $1,742.85. To date, Circuitronix has paid no portion of the amount owed.

          246.   Invoice CCT-BLD-191008002 was issued by plaintiffs to Circuitronix for a total

   of $3,654.20. To date, Circuitronix has paid no portion of the amount owed.

          247.   Invoice CCT-BLD-191011001 was issued by plaintiffs to Circuitronix for a total

   of $171.60. To date, Circuitronix has paid no portion of the amount owed.

          248.   Invoice CCT-BLD-191011002 was issued by plaintiffs to Circuitronix for a total

   of $1,068.29. To date, Circuitronix has paid no portion of the amount owed.

          249.   Invoice CCT-BLD-191015001 was issued by plaintiffs to Circuitronix for a total

   of $8,197.93. To date, Circuitronix has paid no portion of the amount owed.

          250.   Invoice CCT-BLD-191015002 was issued by plaintiffs to Circuitronix for a total

   of $1,271.30. To date, Circuitronix has paid no portion of the amount owed.

          251.   Invoice CCT-BLD-191018001 was issued by plaintiffs to Circuitronix for a total

   of $14,698.60. To date, Circuitronix has paid no portion of the amount owed.

          252.   Invoice CCT-BLD-191018002 was issued by plaintiffs to Circuitronix for a total

   of $1,300.80. To date, Circuitronix has paid no portion of the amount owed.




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          253.   Invoice CCT-BLD-191022001 was issued by plaintiffs to Circuitronix for a total

   of $137.03. To date, Circuitronix has paid no portion of the amount owed.

          254.   Invoice CCT-BLD-191022002 was issued by plaintiffs to Circuitronix for a total

   of $895.97. To date, Circuitronix has paid no portion of the amount owed.

          255.   Invoice CCT-BLD-191025A was issued by plaintiffs to Circuitronix for a total of

   $948.00. To date, Circuitronix has paid no portion of the amount owed.

          256.   Invoice CCT-BLD-19103002 was issued by plaintiffs to Circuitronix for a total of

   $146.52. To date, Circuitronix has paid no portion of the amount owed.

          257.   Invoice CCT-BLD-19110601 was issued by plaintiffs to Circuitronix for a total of

   $46.19. To date, Circuitronix has paid no portion of the amount owed.

          258.   Invoice CCT-BLD-19120402 was issued by plaintiffs to Circuitronix for a total of

   $9.99. To date, Circuitronix has paid no portion of the amount owed.

          259.   Invoice CCT-BLD-19121802 was issued by plaintiffs to Circuitronix for a total of

   $1,227.18. To date, Circuitronix has paid no portion of the amount owed.

          260.   Invoice CCT-BLD-190921INV PRO was issued by plaintiffs to Circuitronix for a

   total of $40,049.40. To date, Circuitronix has paid no portion of the amount owed.

          261.   Invoice BLDCCT-HK181218001 was issued by plaintiffs to Circuitronix for a

   total of $107,965.37. Of this amount, Circuitronix paid $11,569.69, leaving a balance of

   $96,396.08. To date, Circuitronix has not paid the remainder of this balance owed.

          262.   Invoice BLDCCT-HK181221001 was issued by plaintiffs to Circuitronix for a

   total of $82,678.18. To date, Circuitronix has paid no portion of the amount owed.



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          263.   Invoice BLDCCT-HK18122101 was issued by plaintiffs to Circuitronix for a total

   of $30,611.09. To date, Circuitronix has paid no portion of the amount owed.

          264.   Invoice BLDCCT-HK181229001 was issued by plaintiffs to Circuitronix for a

   total of $82,819.75. To date, Circuitronix has paid no portion of the amount owed.

          265.   Invoice BLDCCT-HK181229002 was issued by plaintiffs to Circuitronix for a

   total of $98,589.22. To date, Circuitronix has paid no portion of the amount owed.

          266.   Invoice BLDCCT-HK181231001 was issued by plaintiffs to Circuitronix for a

   total of $34,974.50. To date, Circuitronix has paid no portion of the amount owed.

          267.   Invoice BLDCCT-HK181231002 was issued by plaintiffs to Circuitronix for a

   total of $13,863.50. To date, Circuitronix has paid no portion of the amount owed.

          268.   Invoice BLDCCT-HK190104001 was issued by plaintiffs to Circuitronix for a

   total of $61,524.95. To date, Circuitronix has paid no portion of the amount owed.

          269.   Invoice BLDCCT-HK19010401 was issued by plaintiffs to Circuitronix for a total

   of $11,722.07. To date, Circuitronix has paid no portion of the amount owed.

          270.   Invoice BLDCCT-HK190108001 was issued by plaintiffs to Circuitronix for a

   total of $57,377.87. To date, Circuitronix has paid no portion of the amount owed.

          271.   Invoice BLDCCT-HK190111001 was issued by plaintiffs to Circuitronix for a

   total of $77,139.78. To date, Circuitronix has paid no portion of the amount owed.

          272.   Invoice BLDCCT-HK190111002 was issued by plaintiffs to Circuitronix for a

   total of $44,149.06. To date, Circuitronix has paid no portion of the amount owed.




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          273.   Invoice BLDCCT-HK19011101 was issued by plaintiffs to Circuitronix for a total

   of $5,078.23. To date, Circuitronix has paid no portion of the amount owed.

          274.   Invoice BLDCCT-HK190115001 was issued by plaintiffs to Circuitronix for a

   total of $77,790.80. To date, Circuitronix has paid no portion of the amount owed.

          275.   Invoice BLDCCT-HK190115002 was issued by plaintiffs to Circuitronix for a

   total of $52,647.19. To date, Circuitronix has paid no portion of the amount owed.

          276.   Invoice BLDCCT-HK190118001 was issued by plaintiffs to Circuitronix for a

   total of $78,835.11. To date, Circuitronix has paid no portion of the amount owed.

          277.   Invoice BLDCCT-HK190118002 was issued by plaintiffs to Circuitronix for a

   total of $37,790.10. To date, Circuitronix has paid no portion of the amount owed.

          278.   Invoice BLDCCT-HK19011801 was issued by plaintiffs to Circuitronix for a total

   of $28,940.18. To date, Circuitronix has paid no portion of the amount owed.

          279.   Invoice BLDCCT-HK19012101 was issued by plaintiffs to Circuitronix for a total

   of $33,134.91. To date, Circuitronix has paid no portion of the amount owed.

          280.   Invoice BLDCCT-HK190122001 was issued by plaintiffs to Circuitronix for a

   total of $78,895.43. To date, Circuitronix has paid no portion of the amount owed.

          281.   Invoice BLDCCT-HK19012401 was issued by plaintiffs to Circuitronix for a total

   of $43,577.36. To date, Circuitronix has paid no portion of the amount owed.

          282.   Invoice BLDCCT-HK190125001 was issued by plaintiffs to Circuitronix for a

   total of $67,447.02. To date, Circuitronix has paid no portion of the amount owed.




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          283.   Invoice BLDCCT-HK190129001 was issued by plaintiffs to Circuitronix for a

   total of $56,164.05. To date, Circuitronix has paid no portion of the amount owed.

          284.   Invoice BLDCCT-HK190129A was issued by plaintiffs to Circuitronix for a total

   of $96,448.00. To date, Circuitronix has paid no portion of the amount owed.

          285.   Invoice BLDCCT-HK190129B was issued by plaintiffs to Circuitronix for a total

   of $40,096.73. To date, Circuitronix has paid no portion of the amount owed.

          286.   Invoice BLDCCT-HK19020101 was issued by plaintiffs to Circuitronix for a total

   of $65,247.85. To date, Circuitronix has paid no portion of the amount owed.

          287.   Invoice BLDCCT-HK19020102 was issued by plaintiffs to Circuitronix for a total

   of $80,704.54. To date, Circuitronix has paid no portion of the amount owed.

          288.   Invoice BLDCCT-HK190215001 was issued by plaintiffs to Circuitronix for a

   total of $12,847.61. To date, Circuitronix has paid no portion of the amount owed.

          289.   Invoice BLDCCT-HK19021801 was issued by plaintiffs to Circuitronix for a total

   of $32,413.00. To date, Circuitronix has paid no portion of the amount owed.

          290.   Invoice BLDCCT-HK190219001 was issued by plaintiffs to Circuitronix for a

   total of $34,630.04. To date, Circuitronix has paid no portion of the amount owed.

          291.   Invoice BLDCCT-HK190222001 was issued by plaintiffs to Circuitronix for a

   total of $40,468.65. To date, Circuitronix has paid no portion of the amount owed.

          292.   Invoice BLDCCT-HK19022201 was issued by plaintiffs to Circuitronix for a total

   of $60,248.27. To date, Circuitronix has paid no portion of the amount owed.




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          293.   Invoice BLDCCT-HK190226001 was issued by plaintiffs to Circuitronix for a

   total of $43,311.58. To date, Circuitronix has paid no portion of the amount owed.

          294.   Invoice BLDCCT-HK190226002 was issued by plaintiffs to Circuitronix for a

   total of $41,265.65. To date, Circuitronix has paid no portion of the amount owed.

          295.   Invoice BLDCCT-HK190301001 was issued by plaintiffs to Circuitronix for a

   total of $53,035.32. To date, Circuitronix has paid no portion of the amount owed.

          296.   Invoice BLDCCT-HK19030101 was issued by plaintiffs to Circuitronix for a total

   of $19,980.37. To date, Circuitronix has paid no portion of the amount owed.

          297.   Invoice BLDCCT-HK190305001 was issued by plaintiffs to Circuitronix for a

   total of $65,462.16. To date, Circuitronix has paid no portion of the amount owed.

          298.   Invoice BLDCCT-HK190305002 was issued by plaintiffs to Circuitronix for a

   total of $14,808.67. To date, Circuitronix has paid no portion of the amount owed.

          299.   Invoice BLDCCT-HK190308001 was issued by plaintiffs to Circuitronix for a

   total of $83,447.90. To date, Circuitronix has paid no portion of the amount owed.

          300.   Invoice BLDCCT-HK19030801 was issued by plaintiffs to Circuitronix for a total

   of $36,460.00. To date, Circuitronix has paid no portion of the amount owed.

          301.   Invoice BLDCCT-HK190311 was issued by plaintiffs to Circuitronix for a total

   of $47.65. To date, Circuitronix has paid no portion of the amount owed.

          302.   Invoice BLDCCT-HK190312001 was issued by plaintiffs to Circuitronix for a

   total of $58,827.32. To date, Circuitronix has paid no portion of the amount owed.




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          303.   Invoice BLDCCT-HK19031201 was issued by plaintiffs to Circuitronix for a total

   of $32,287.05. To date, Circuitronix has paid no portion of the amount owed.

          304.   Invoice BLDCCT-HK190315001 was issued by plaintiffs to Circuitronix for a

   total of $58,178.88. To date, Circuitronix has paid no portion of the amount owed.

          305.   Invoice BLDCCT-HK190315002 was issued by plaintiffs to Circuitronix for a

   total of $28,849.62. To date, Circuitronix has paid no portion of the amount owed.

          306.   Invoice BLDCCT-HK190316A was issued by plaintiffs to Circuitronix for a total

   of $1,990.80. To date, Circuitronix has paid no portion of the amount owed.

          307.   Invoice BLDCCT-HK190319001 was issued by plaintiffs to Circuitronix for a

   total of $73,311.96. To date, Circuitronix has paid no portion of the amount owed.

          308.   Invoice BLDCCT-HK190319002 was issued by plaintiffs to Circuitronix for a

   total of $22,725.18. To date, Circuitronix has paid no portion of the amount owed.

          309.   Invoice BLDCCT-HK19031901 was issued by plaintiffs to Circuitronix for a total

   of $26,613.19. To date, Circuitronix has paid no portion of the amount owed.

          310.   Invoice BLDCCT-HK190322001 was issued by plaintiffs to Circuitronix for a

   total of $47,554.59. To date, Circuitronix has paid no portion of the amount owed.

          311.   Invoice BLDCCT-HK190322002 was issued by plaintiffs to Circuitronix for a

   total of $21,393.49. To date, Circuitronix has paid no portion of the amount owed.

          312.   Invoice BLDCCT-HK19032501 was issued by plaintiffs to Circuitronix for a total

   of $14,506.71. To date, Circuitronix has paid no portion of the amount owed.




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          313.    Invoice BLDCCT-HK190326001 was issued by plaintiffs to Circuitronix for a

   total of $45,257.31. To date, Circuitronix has paid no portion of the amount owed.

          314.    Invoice BLDCCT-HK190326002 was issued by plaintiffs to Circuitronix for a

   total of $68,378.27. To date, Circuitronix has paid no portion of the amount owed.

          315.    Invoice BLDCCT-HK190329001 was issued by plaintiffs to Circuitronix for a

   total of $29,669.73. To date, Circuitronix has paid no portion of the amount owed.

          316.    Invoice BLDCCT-HK190329002 was issued by plaintiffs to Circuitronix for a

   total of $28,820.51. To date, Circuitronix has paid no portion of the amount owed.

          317.    Invoice CCT-BLD-190329001(HK) was issued by plaintiffs to Circuitronix for a

   total of $30.94. To date, Circuitronix has paid no portion of the amount owed.

          318.    Invoice BLDCCT-HK19040201 was issued by plaintiffs to Circuitronix for a total

   of $3,733.80. To date, Circuitronix has paid no portion of the amount owed.

          319.    Invoice BLDCCT-HK190403001 was issued by plaintiffs to Circuitronix for a

   total of $81,914.23. To date, Circuitronix has paid no portion of the amount owed.

          320.    Invoice BLDCCT-HK190403002 was issued by plaintiffs to Circuitronix for a

   total of $11,325.13. To date, Circuitronix has paid no portion of the amount owed.

          321.    Invoice BLDCCT-HK19040801 was issued by plaintiffs to Circuitronix for a total

   of $3,022.60. To date, Circuitronix has paid no portion of the amount owed.

          322.    Invoice BLDCCT-HK190409002 was issued by plaintiffs to Circuitronix for a

   total of $1,776.01. To date, Circuitronix has paid no portion of the amount owed.




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          323.   Invoice BLDCCT-HK190409001 was issued by plaintiffs to Circuitronix for a

   total of $22,489.12. To date, Circuitronix has paid no portion of the amount owed.

          324.   Invoice BLDCCT-HK190412002 was issued by plaintiffs to Circuitronix for a

   total of $3,372.18. To date, Circuitronix has paid no portion of the amount owed.

          325.   Invoice BLDCCT-HK190412001 was issued by plaintiffs to Circuitronix for a

   total of $60,529.12. To date, Circuitronix has paid no portion of the amount owed.

          326.   Invoice BLDCCT-HK190416001 was issued by plaintiffs to Circuitronix for a

   total of $34,964.76. To date, Circuitronix has paid no portion of the amount owed.

          327.   Invoice BLDCCT-HK19041701 was issued by plaintiffs to Circuitronix for a total

   of $2,753.39. To date, Circuitronix has paid no portion of the amount owed.

          328.   Invoice BLDCCT-HK19041901 was issued by plaintiffs to Circuitronix for a total

   of $360.75. To date, Circuitronix has paid no portion of the amount owed.

          329.   Invoice BLDCCT-HK190419002 was issued by plaintiffs to Circuitronix for a

   total of $101.35. To date, Circuitronix has paid no portion of the amount owed.

          330.   Invoice BLDCCT-HK190419001 was issued by plaintiffs to Circuitronix for a

   total of $64,181.96. To date, Circuitronix has paid no portion of the amount owed.

          331.   Invoice BLDCCT-HK19042201 was issued by plaintiffs to Circuitronix for a total

   of $4,656.00. To date, Circuitronix has paid no portion of the amount owed.

          332.   Invoice BLDCCT-HK190423002 was issued by plaintiffs to Circuitronix for a

   total of $1,751.09. To date, Circuitronix has paid no portion of the amount owed.




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          333.   Invoice BLDCCT-HK190423001 was issued by plaintiffs to Circuitronix for a

   total of $51,676.74. To date, Circuitronix has paid no portion of the amount owed.

          334.   Invoice BLDCCT-HK190426002 was issued by plaintiffs to Circuitronix for a

   total of $4,943.12. To date, Circuitronix has paid no portion of the amount owed.

          335.   Invoice BLDCCT-HK190426001 was issued by plaintiffs to Circuitronix for a

   total of $60,786.37. To date, Circuitronix has paid no portion of the amount owed.

          336.   Invoice BLDCCT-HK19042901 was issued by plaintiffs to Circuitronix for a total

   of $10,855.30. To date, Circuitronix has paid no portion of the amount owed.

          337.   Invoice BLDCCT-HK190429001 was issued by plaintiffs to Circuitronix for a

   total of $36,139.20. To date, Circuitronix has paid no portion of the amount owed.

          338.   Invoice CCT-BLD-190403002(HK) was issued by plaintiffs to Circuitronix for a

   total of $8,217.30. To date, Circuitronix has paid no portion of the amount owed.

          339.   Invoice CCT-BLD-190409002(HK) was issued by plaintiffs to Circuitronix for a

   total of $655.20. To date, Circuitronix has paid no portion of the amount owed.

          340.   Invoice CCT-BLD-190412001(HK) was issued by plaintiffs to Circuitronix for a

   total of $4,746.56. To date, Circuitronix has paid no portion of the amount owed.

          341.   Invoice BLDCCT-HK19050601 was issued by plaintiffs to Circuitronix for a total

   of $3,336.80. To date, Circuitronix has paid no portion of the amount owed.

          342.   Invoice BLDCCT-HK190507001 was issued by plaintiffs to Circuitronix for a

   total of $49,731.42. To date, Circuitronix has paid no portion of the amount owed.




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          343.   Invoice BLDCCT-HK190507002 was issued by plaintiffs to Circuitronix for a

   total of $32,217.25. To date, Circuitronix has paid no portion of the amount owed.

          344.   Invoice BLDCCT-HK190510001 was issued by plaintiffs to Circuitronix for a

   total of $54,405.26. To date, Circuitronix has paid no portion of the amount owed.

          345.   Invoice BLDCCT-HK190510002 was issued by plaintiffs to Circuitronix for a

   total of $4,190.40. To date, Circuitronix has paid no portion of the amount owed.

          346.   Invoice BLDCCT-HK19051301 was issued by plaintiffs to Circuitronix for a total

   of $7,030.56. To date, Circuitronix has paid no portion of the amount owed.

          347.   Invoice BLDCCT-HK190514001 was issued by plaintiffs to Circuitronix for a

   total of $31,886.38. To date, Circuitronix has paid no portion of the amount owed.

          348.   Invoice BLDCCT-HK190517001 was issued by plaintiffs to Circuitronix for a

   total of $32,704.36. To date, Circuitronix has paid no portion of the amount owed.

          349.   Invoice BLDCCT-HK190517002 was issued by plaintiffs to Circuitronix for a

   total of $1,621.06. To date, Circuitronix has paid no portion of the amount owed.

          350.   Invoice BLDCCT-HK190521001 was issued by plaintiffs to Circuitronix for a

   total of $49,919.80. To date, Circuitronix has paid no portion of the amount owed.

          351.   Invoice BLDCCT-HK190521002 was issued by plaintiffs to Circuitronix for a

   total of $6,277.50. To date, Circuitronix has paid no portion of the amount owed.

          352.   Invoice BLDCCT-HK19052101 was issued by plaintiffs to Circuitronix for a total

   of $15,062.82. To date, Circuitronix has paid no portion of the amount owed.




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          353.   Invoice BLDCCT-HK190524001 was issued by plaintiffs to Circuitronix for a

   total of $33,448.90. To date, Circuitronix has paid no portion of the amount owed.

          354.   Invoice BLDCCT-HK190524002 was issued by plaintiffs to Circuitronix for a

   total of $10,564.22. To date, Circuitronix has paid no portion of the amount owed.

          355.   Invoice BLDCCT-HK190528001 was issued by plaintiffs to Circuitronix for a

   total of $35,270.16. To date, Circuitronix has paid no portion of the amount owed.

          356.   Invoice BLDCCT-HK19052801 was issued by plaintiffs to Circuitronix for a total

   of $6,921.19. To date, Circuitronix has paid no portion of the amount owed.

          357.   Invoice BLDCCT-HK190531001 was issued by plaintiffs to Circuitronix for a

   total of $15,702.68. To date, Circuitronix has paid no portion of the amount owed.

          358.   Invoice BLDCCT-HK190604001 was issued by plaintiffs to Circuitronix for a

   total of $25,461.66. To date, Circuitronix has paid no portion of the amount owed.

          359.   Invoice BLDCCT-HK190604002 was issued by plaintiffs to Circuitronix for a

   total of $3,487.69. To date, Circuitronix has paid no portion of the amount owed.

          360.   Invoice BLDCCT-HK19060501 was issued by plaintiffs to Circuitronix for a total

   of $22,610.70. To date, Circuitronix has paid no portion of the amount owed.

          361.   Invoice BLDCCT-HK190606001 was issued by plaintiffs to Circuitronix for a

   total of $423.92. To date, Circuitronix has paid no portion of the amount owed.

          362.   Invoice BLDCCT-HK190611001 was issued by plaintiffs to Circuitronix for a

   total of $7,201.83. To date, Circuitronix has paid no portion of the amount owed.




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          363.   Invoice BLDCCT-HK190611002 was issued by plaintiffs to Circuitronix for a

   total of $13,518.63. To date, Circuitronix has paid no portion of the amount owed.

          364.   Invoice BLDCCT-HK19061201 was issued by plaintiffs to Circuitronix for a total

   of $2,283.31. To date, Circuitronix has paid no portion of the amount owed.

          365.   Invoice BLDCCT-HK19061202 was issued by plaintiffs to Circuitronix for a total

   of $3,765.74. To date, Circuitronix has paid no portion of the amount owed.

          366.   Invoice BLDCCT-HK190614001 was issued by plaintiffs to Circuitronix for a

   total of $13,137.71. To date, Circuitronix has paid no portion of the amount owed.

          367.   Invoice BLDCCT-HK190614002 was issued by plaintiffs to Circuitronix for a

   total of $18,568.46. To date, Circuitronix has paid no portion of the amount owed.

          368.   Invoice BLDCCT-HK190618001 was issued by plaintiffs to Circuitronix for a

   total of $40,098.04. To date, Circuitronix has paid no portion of the amount owed.

          369.   Invoice BLDCCT-HK190621001 was issued by plaintiffs to Circuitronix for a

   total of $24,854.45. To date, Circuitronix has paid no portion of the amount owed.

          370.   Invoice BLDCCT-HK190621002 was issued by plaintiffs to Circuitronix for a

   total of $19,674.30. To date, Circuitronix has paid no portion of the amount owed.

          371.   Invoice BLDCCT-HK19062101 was issued by plaintiffs to Circuitronix for a total

   of $6,833.89. To date, Circuitronix has paid no portion of the amount owed.

          372.   Invoice BLDCCT-HK19062102 was issued by plaintiffs to Circuitronix for a total

   of $4,812.55. To date, Circuitronix has paid no portion of the amount owed.




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          373.   Invoice BLDCCT-HK190625001 was issued by plaintiffs to Circuitronix for a

   total of $24,283.67. To date, Circuitronix has paid no portion of the amount owed.

          374.   Invoice BLDCCT-HK19062501 was issued by plaintiffs to Circuitronix for a total

   of $10,360.79. To date, Circuitronix has paid no portion of the amount owed.

          375.   Invoice BLDCCT-HK19062502 was issued by plaintiffs to Circuitronix for a total

   of $3,744.78. To date, Circuitronix has paid no portion of the amount owed.

          376.   Invoice BLDCCT-HK190628001 was issued by plaintiffs to Circuitronix for a

   total of $28,316.20. To date, Circuitronix has paid no portion of the amount owed.

          377.   Invoice BLDCCT-HK190628002 was issued by plaintiffs to Circuitronix for a

   total of $3,549.00. To date, Circuitronix has paid no portion of the amount owed.

          378.   Invoice BLDCCT-HK190702001 was issued by plaintiffs to Circuitronix for a

   total of $17,108.42. To date, Circuitronix has paid no portion of the amount owed.

          379.   Invoice BLDCCT-HK190705001 was issued by plaintiffs to Circuitronix for a

   total of $5,566.29. To date, Circuitronix has paid no portion of the amount owed.

          380.   Invoice BLDCCT-HK19070501 was issued by plaintiffs to Circuitronix for a total

   of $5,715.75. To date, Circuitronix has paid no portion of the amount owed.

          381.   Invoice BLDCCT-HK19070502 was issued by plaintiffs to Circuitronix for a total

   of $1,092.00. To date, Circuitronix has paid no portion of the amount owed.

          382.   Invoice BLDCCT-HK190709001 was issued by plaintiffs to Circuitronix for a

   total of $8,456.01. To date, Circuitronix has paid no portion of the amount owed.




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          383.   Invoice BLDCCT-HK190709002 was issued by plaintiffs to Circuitronix for a

   total of $273.00. To date, Circuitronix has paid no portion of the amount owed.

          384.   Invoice BLDCCT-HK190712001 was issued by plaintiffs to Circuitronix for a

   total of $5,543.88. To date, Circuitronix has paid no portion of the amount owed.

          385.   Invoice BLDCCT-HK19071201 was issued by plaintiffs to Circuitronix for a total

   of $7,164.00. To date, Circuitronix has paid no portion of the amount owed.

          386.   Invoice BLDCCT-HK19071202 was issued by plaintiffs to Circuitronix for a total

   of $22,016.04. To date, Circuitronix has paid no portion of the amount owed.

          387.   Invoice BLDCCT-HK19071801 was issued by plaintiffs to Circuitronix for a total

   of $3,142.85. To date, Circuitronix has paid no portion of the amount owed.

          388.   Invoice BLDCCT-HK19071802 was issued by plaintiffs to Circuitronix for a total

   of $20,446.39. To date, Circuitronix has paid no portion of the amount owed.

          389.   Invoice BLDCCT-HK190719001 was issued by plaintiffs to Circuitronix for a

   total of $25,334.74. To date, Circuitronix has paid no portion of the amount owed.

          390.   Invoice BLDCCT-HK190719A was issued by plaintiffs to Circuitronix for a total

   of $4,387.20. To date, Circuitronix has paid no portion of the amount owed.

          391.   Invoice BLDCCT-HK190723001 was issued by plaintiffs to Circuitronix for a

   total of $28,500.72. To date, Circuitronix has paid no portion of the amount owed.

          392.   Invoice BLDCCT-HK19072301 was issued by plaintiffs to Circuitronix for a total

   of $12,835.53. To date, Circuitronix has paid no portion of the amount owed.




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          393.   Invoice BLDCCT-HK19072302 was issued by plaintiffs to Circuitronix for a total

   of $20,737.49. To date, Circuitronix has paid no portion of the amount owed.

          394.   Invoice BLDCCT-HK190726001 was issued by plaintiffs to Circuitronix for a

   total of $32,393.97. To date, Circuitronix has paid no portion of the amount owed.

          395.   Invoice BLDCCT-HK190726002 was issued by plaintiffs to Circuitronix for a

   total of $2,629.59. To date, Circuitronix has paid no portion of the amount owed.

          396.   Invoice BLDCCT-HK190730001 was issued by plaintiffs to Circuitronix for a

   total of $23,964.95. To date, Circuitronix has paid no portion of the amount owed.

          397.   Invoice BLDCCT-HK190730002 was issued by plaintiffs to Circuitronix for a

   total of $7,181.58. To date, Circuitronix has paid no portion of the amount owed.

          398.   Invoice BLDCCT-HK190802001 was issued by plaintiffs to Circuitronix for a

   total of $2,022.19. To date, Circuitronix has paid no portion of the amount owed.

          399.   Invoice BLDCCT-HK19080201 was issued by plaintiffs to Circuitronix for a total

   of $112.77. To date, Circuitronix has paid no portion of the amount owed.

          400.   Invoice BLDCCT-HK19080202 was issued by plaintiffs to Circuitronix for a total

   of $9,762.08. To date, Circuitronix has paid no portion of the amount owed.

          401.   Invoice BLDCCT-HK190806001 was issued by plaintiffs to Circuitronix for a

   total of $6,375.00. To date, Circuitronix has paid no portion of the amount owed.

          402.   Invoice BLDCCT-HK19080601 was issued by plaintiffs to Circuitronix for a total

   of $15,548.39. To date, Circuitronix has paid no portion of the amount owed.




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          403.   Invoice BLDCCT-HK19080602 was issued by plaintiffs to Circuitronix for a total

   of $33,147.26. To date, Circuitronix has paid no portion of the amount owed.

          404.   Invoice BLDCCT-HK190809001 was issued by plaintiffs to Circuitronix for a

   total of $2,499.05. To date, Circuitronix has paid no portion of the amount owed.

          405.   Invoice BLDCCT-HK190809002 was issued by plaintiffs to Circuitronix for a

   total of $2,100.88. To date, Circuitronix has paid no portion of the amount owed.

          406.   Invoice BLDCCT-HK19081501 was issued by plaintiffs to Circuitronix for a total

   of $51,470.20. To date, Circuitronix has paid no portion of the amount owed.

          407.   Invoice BLDCCT-HK19081502 was issued by plaintiffs to Circuitronix for a total

   of $163.38. To date, Circuitronix has paid no portion of the amount owed.

          408.   Invoice BLDCCT-HK190816001 was issued by plaintiffs to Circuitronix for a

   total of $7,111.61. To date, Circuitronix has paid no portion of the amount owed.

          409.   Invoice BLDCCT-HK190820001 was issued by plaintiffs to Circuitronix for a

   total of $8,427.36. To date, Circuitronix has paid no portion of the amount owed.

          410.   Invoice BLDCCT-HK190820002 was issued by plaintiffs to Circuitronix for a

   total of $11,521.56. To date, Circuitronix has paid no portion of the amount owed.

          411.   Invoice BLDCCT-HK19082201 was issued by plaintiffs to Circuitronix for a total

   of $1,347.22. To date, Circuitronix has paid no portion of the amount owed.

          412.   Invoice BLDCCT-HK190827001 was issued by plaintiffs to Circuitronix for a

   total of $4,811.20. To date, Circuitronix has paid no portion of the amount owed.




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          413.   Invoice BLDCCT-HK190827002 was issued by plaintiffs to Circuitronix for a

   total of $7,909.91. To date, Circuitronix has paid no portion of the amount owed.

          414.   Invoice BLDCCT-HK190830001 was issued by plaintiffs to Circuitronix for a

   total of $4,667.64. To date, Circuitronix has paid no portion of the amount owed.

          415.   Invoice BLDCCT-HK19083001 was issued by plaintiffs to Circuitronix for a total

   of $7,625.77. To date, Circuitronix has paid no portion of the amount owed.

          416.   Invoice BLDCCT-HK190903002 was issued by plaintiffs to Circuitronix for a

   total of $3,581.96. To date, Circuitronix has paid no portion of the amount owed.

          417.   Invoice BLDCCT-HK19090601 was issued by plaintiffs to Circuitronix for a total

   of $3,432.00. To date, Circuitronix has paid no portion of the amount owed.

          418.   Invoice BLDCCT-HK190910002 was issued by plaintiffs to Circuitronix for a

   total of $2,164.50. To date, Circuitronix has paid no portion of the amount owed.

          419.   Invoice BLDCCT-HK19091001 was issued by plaintiffs to Circuitronix for a total

   of $148.50. To date, Circuitronix has paid no portion of the amount owed.

          420.   Invoice BLDCCT-HK19091701 was issued by plaintiffs to Circuitronix for a total

   of $1,361.16. To date, Circuitronix has paid no portion of the amount owed.

          421.   Invoice BLDCCT-HK190920002 was issued by plaintiffs to Circuitronix for a

   total of $5,042.85. To date, Circuitronix has paid no portion of the amount owed.

          422.   Invoice BLDCCT-HK19092001 was issued by plaintiffs to Circuitronix for a total

   of $1,126.89. To date, Circuitronix has paid no portion of the amount owed.




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          423.    Invoice BLDCCT-HK19092401 was issued by plaintiffs to Circuitronix for a total

   of $184.14. To date, Circuitronix has paid no portion of the amount owed.

          424.    Invoice BLDCCT-HK19092402 was issued by plaintiffs to Circuitronix for a total

   of $5,447.84. To date, Circuitronix has paid no portion of the amount owed.

          425.    Invoice BLDCCT-HK191008001 was issued by plaintiffs to Circuitronix for a

   total of $1,836.06. To date, Circuitronix has paid no portion of the amount owed.

          426.    Invoice BLDCCT-HK191008002 was issued by plaintiffs to Circuitronix for a

   total of $5,960.59. To date, Circuitronix has paid no portion of the amount owed.

          427.    Invoice BLDCCT-HK191011002 was issued by plaintiffs to Circuitronix for a

   total of $5,788.74. To date, Circuitronix has paid no portion of the amount owed.

          428.    Invoice BLDCCT-HK191015002 was issued by plaintiffs to Circuitronix for a

   total of $216.45. To date, Circuitronix has paid no portion of the amount owed.

          429.    Invoice BLDCCT-HK191018002 was issued by plaintiffs to Circuitronix for a

   total of $2,669.55. To date, Circuitronix has paid no portion of the amount owed.

          430.    Invoice BLDCCT-HK19111902 was issued by plaintiffs to Circuitronix for a total

   of $88.18. To date, Circuitronix has paid no portion of the amount owed.

          431.    Invoice BLDCCT-HK190926INV PRO was issued by plaintiffs to Circuitronix

   for a total of $902.02. To date, Circuitronix has paid no portion of the amount owed.

                                     Agreed-Upon Price Increases
          432.    The parties met and conferred from time to time to discuss the pricing of the

   goods and other related issues.



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             433.   Specifically, on December 13th and 14th of 2016, the parties agreed to price

   increases of 4% and 5% with respect to the foregoing invoices, based upon certain specifications.

             434.   The agreement was memorialized in meeting minutes, mutually consented to by

   the parties.

             435.   Such consent was memorialized on October 20, 2017.

             436.   Pursuant to the agreement, as to which there was due consideration, there is an

   additional $2,115,927.57 owed.

             437.   Based upon the invoiced amount of $11,539,408.36 plus $2,115,927.57 as the

   agreed-upon price increase, Circuitronix is liable to Benlida for $13,655,335.93, plus interest at

   the statutory rate and costs.

                                First Cause of Action: Breach of Contract
             438.   Plaintiffs repeat and re-allege the foregoing paragraphs as if set forth here at full

   length.

             439.   In exchange for the circuit boards manufactured by plaintiffs and sold to

   defendant Circuitronix, the latter agreed to pay the former therefor.

             440.   Plaintiffs performed their obligations under the contract by delivering such circuit

   boards to defendant Circuitronix at the latter’s designated place of delivery.

             441.   Defendant Circuitronix received the shipments and accepted delivery of the goods

   without protest.

             442.   Plaintiffs properly and correctly invoiced defendant Circuitronix for such goods.




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              443.   Defendant Circuitronix failed to make full payment for such goods,

   notwithstanding plaintiffs’ timely demand for payment of the debt due.

              444.   Defendant Circuitronix alleged that plaintiffs owed it a total of $6,561,044.21,

   citing an extra-contractual and unconsented-to lead-time penalty and citing an Excel spreadsheet

   of purported itemizations, in an attempt to circumvent payments due to plaintiffs, thereby

   demonstrating a lack of good faith and fair dealing on the part of Circuitronix.

              445.   By reason of the aforesaid, plaintiffs sustained damages in the amount of

   $13,655,335.93, plus interest at the statutory rate and costs.

                                 Second Cause of Action: Account Stated
              446.   Plaintiffs repeat and re-allege the foregoing paragraphs as if set forth here at full

   length.

              447.   Defendant Circuitronix expressly agreed to purchase the aforesaid goods from

   plaintiffs.

              448.   Defendant Circuitronix expressly agreed to pay the amounts specified in the

   invoices.

              449.   Plaintiffs delivered the aforesaid goods as specified in the invoices.

              450.   Plaintiffs presented the accounts stated by sending the invoices to defendant

   Circuitronix, which constituted the bills for the goods delivered.

              451.   Plaintiffs’ invoices are correct and accurate, as they reflect the dollar amounts

   agreed to by Circuitronix for the purchase of the goods.

              452.   Defendant Circuitronix accepted delivery of the goods without objection or

   protest.

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          453.    Defendant Circuitronix received the invoices from plaintiffs as a bill for the sale

   of the delivered goods without objection.

          454.    Defendant Circuitronix retained the invoices without objection as to the stated

   amounts contained therein.

          455.    Defendant Circuitronix has failed to remit payment of the debt although it has

   been in possession of the invoices beyond a reasonable amount of time.

          456.    Although plaintiffs made written demand for payment of the amount due,

   defendant Circuitronix remains delinquent in providing payment.

          457.    By reason of the aforesaid, plaintiffs have sustained damages in the amount of

   $13,655,335.93, plus interest at the statutory rate and costs, and, based upon the cause of action

   in account stated, plaintiffs are entitled to a judgment against defendant Circuitronix for having

   failed to pay the debt that was properly billed, pursuant to the invoices, which invoices were

   timely sent in due course for the purchase of the goods that plaintiffs delivered.

                                                    ***
                                               Jury Demand
          Plaintiffs demand a trial by jury as to all issues so triable.

                                                    ***




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           WHEREFORE, plaintiffs Jiangmen Benlida Printed Circuit Co., Ltd. and ROK Printed

   Circuit Co., Ltd. demand judgment against defendant Circuitronix LLC (a) for $13,655,335.93;

   (b) for prejudgment interest in accordance with the contract between the parties or statutory

   interest from the date of loss, plus costs; and (c) for such other and further relief as this court

   deems proper and just.

   Dated: New York, New York
          June 1, 2021                                             Respectfully submitted,

                                                                   MAZZOLA LINDSTROM LLP


                                                                   __________________________
                                                                   By: Jean-Claude Mazzola
                                                                   Attorneys for plaintiff
                                                                   1350 Avenue of the Americas, 2nd Floor
                                                                   New York, New York 10019
                                                                   Tel: (646) 216-8585
                                                                   Cell: (646) 250-6666
                                                                   jeanclaude@mazzolalindstrom.com




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